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               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION
STEPHEN ANJORIN,

             Plaintiff,                        Case No. 4:17-cv-11659
                                               Magistrate Judge Anthony P. Patti
v.

CITY OF DETROIT,
JAMES CRAIG,
BOULEVARD & TRUMBULL,
CHARLES LYNEM and
JAVION & SAM TOWING, INC.,

          Defendants.
___________________________________/

     ORDER GRANTING DEFENDANTS CITY OF DETROIT, CRAIG AND
       LYNEM’S MOTION FOR SUMMARY JUDGMENT (DE 25) and
     DISMISSING PLAINTIFF’S CLAIMS AGAINST RECENTLY ADDED
              DEFENDANT JAVION & SAM TOWING, INC.

       Plaintiff filed this lawsuit in pro per on May 24, 2017 against Defendants

City of Detroit, Police Officer Charles Lynem, Chief of Police James Craig

(hereinafter, collectively, the “City of Detroit Defendants”), and Boulevard &

Trumbull (“B & T,” allegedly the towing company). (DE 1.) With the Court’s

permission, Plaintiff has since amended his complaint by substituting Defendant

Boulevard & Trumbull with Defendant Javon & Sam Towing, Inc. (DEs 31, 37.)

       This case is before me by the consent of the parties. (DEs 20 & 21.)

Currently under the Court’s consideration is the City of Detroit Defendants’

January 31, 2018 amended motion for summary judgment (DE 25), regarding

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which Plaintiff filed a response (DE 33) and the City of Detroit Defendants filed a

reply. (DE 35.)

      On March 23, 2018, the parties appeared in my courtroom.1 Plaintiff

Anjorin appeared on his own behalf, while Attorney Robin J. Brooks appeared on

behalf of the City of Detroit Defendants and Attorney Nicholas J. Bachand

appeared on behalf of dismissed Defendant Boulevard & Trumbull (as well as the

apparently unserved Defendant Javion & Sam Towing, Inc.). After entertaining

oral argument from the parties and/or their counsel, the Court made multiple

factual findings and rulings and offered supportive reasoning from the bench, all of

which is incorporated here by reference as though fully restated herein.

      For the reasons stated on the record: (a) The City of Detroit Defendants’

January 31, 2018 amended motion for summary judgment (DE 25), which was

decided with reference to the subsequently-filed March 13, 2018 amended

complaint (DE 31), is GRANTED; (b) Plaintiff’s March 13, 2018 claims against

the yet to be served Defendant Javion & Sam Towing, Inc. are DISMISSED (see

Fed. Rules Civ. P. 12(b)(1),(b)(6),(h)(3); Mich. Comp. Laws § 257.252(e); 28

U.S.C. §1915(e)(2); In re Prison Litigation Reform Act, 105 F.3d 1131, 1134

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  A motion hearing was noticed for May 23, 2018 (DE 28); however, the copy of
this notice mailed to Plaintiff was returned to the Court. (DE 32.) Nonetheless,
two other notices setting motion hearings for the same date (DEs 29, 36) do not
appear to have been returned to the Court. Given these notices, and Plaintiff’s
appearance on May 23, 2018, the return of the Court’s notice issued on February
23, 2018 is of no import here.
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(1997) (screening of cases under §1915(e)(2) not restricted to prisoner cases);

Ongori v. Hawkins, No. 16-2781, 2017 WL 6759020, at *1 (6th Cir. Nov. 15,

2017) (“[W]e have held that non-prisoners proceeding in forma pauperis are still

subject to the screening requirements of § 1915(e).”)); and, (c) Plaintiff’s March

13, 2018 amended complaint (DE 31) – the operative pleading – is DISMISSED

WITH PREJUDICE.

      IT IS SO ORDERED.


Dated: May 24, 2018                     s/Anthony P. Patti
                                        Anthony P. Patti
                                        UNITED STATES MAGISTRATE JUDGE



                               Certificate of Service

I hereby certify that a copy of the foregoing document was sent to parties of record
on May 24, 2018, electronically and/or by U.S. Mail.

                                        s/Michael Williams
                                        Case Manager for the
                                        Honorable Anthony P. Patti

 




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